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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

____________________________________
IN RE:                               :               CHAPTER 13
                                     :
      ADA BUNDY                      :               BANKRUPTCY NO: 19-12537-AMC
                                     :
                                     :               HEARING DATE: JULY 30, 2019
      Debtor                         :               AT 11:00 A.M. COURTROOM 4
                                     :               900 MARKET STREET
                                     :               PHILADELPHIA, PA 19107
____________________________________

         NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

       Corestates Group, LLC has filed a Motion for IN REM Relief from the Automatic Stay of
11 U.S.C. Section 362 and for Special Relief (the “Motion”) with the Court seeking an Order
allowing them to exercise any and all legal rights and remedies with respect to the premises
located at 6608 North Smedley Street, Philadelphia, PA 19126.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult an attorney.)

        1. If you do not want the Court to grant the relief sought in the Motion or if you want the
court to consider your views on the Motion, then on or before JULY 25, 2019 you or your
attorney must do the following:

       (a)            file an answer explaining your position at:

                      Clerk United States Bankruptcy Court
                      Robert N.C. Nix Building
                      900 Market Street, Suite 400
                      Philadelphia, PA 19107

      If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early
enough so that it will be received on or before the date stated above; and

       (b)            mail a copy to the movant’s attorney at:

                      Howard G. Ford, Esquire
                      4256 Castor Avenue
                      Philadelphia, PA 19124
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          2.     If you or your attorney do not take the steps described in paragraph 1(a)
                 and 1(b) above and attend the court may enter an order granting the relief
                 requested in the Motion.

          3.     A hearing on the Motion is scheduled to be held before the Honorable
                 Ashley M. Chan, United States Bankruptcy Judge on JULY 30, 2019 at
                 11:00 a.m in Courtroom 4, United States Bankruptcy Court, Robert N.C.
                 Nix Building, 900 Market Street, Philadelphia, PA 19107.

          4.     If a copy of the Motion is not enclosed, a copy of the Motion will be
                 provided to you if you request a copy from the attorney named in
                 paragraph 1(b).

          5.     You may contact the Bankruptcy Clerk’s Office at 215-408-2800 to find
                 out whether the hearing has been canceled because no one filed an answer.



   Date: July 1, 2019
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                  IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   ____________________________________
   IN RE:                               :                 CHAPTER 13
                                        :
         ADA BUNDY                      :                 BANKRUPTCY NO:19-12537-AMC
                                        :
               Debtor                   :
   ____________________________________

                                            ORDER


          AND NOW, this ________________day of _____________________, 2019,

   upon consideration of the Motion for IN REM Relief from the Automatic Stay of 11

   U.S.C. Section 362 and for Special Relief filed by Corestates Group, LLC (the “Motion”)

   and after notice thereof, and an opportunity to be heard, and cause therefore having been

   shown, it is hereby

          ORDERED that the Motion is GRANTED; and it is further

          ORDERED that Corestates Group, LLC is granted IN REM relief from the

   automatic stay with respect to the real property at 6608 North Smedley Street,

   Philadelphia, PA 19126. This ORDER shall be binding in any other case filed under

   Title 11 of the United States Code within two years of the date of this Order, unless a

   further Order is entered after notice and a hearing.

          ORDERED that this Order shall remain in full force and effect in any subsequent

   bankruptcy fled by the debtor herein and Owners’ rights hereunder to recover possession
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   of the premises located at 6608 North Smedley Street, Philadelphia, PA 19126 shall not

   be stayed by another bankruptcy filing by any party.



                                               BY THE COURT:

                                               __________________________________
                                               Honorable Ashley M. Chan
                                               U.S. Bankruptcy Judge
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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   ____________________________________
   IN RE:                               :               CHAPTER 13
                                        :
         ADA BUNDY                      :               BANKRUPTCY NO: 19-12537-AMC
                                        :
                                        :               HEARING DATE: JULY 20, 2019
         Debtor                         :               AT 11:00 A.M. COURTROOM 4
                                        :               900 MARKET STREET
                                        :               PHILADELPHIA, PA 19107
   ____________________________________


                MOTION FOR IN REM RELIEF FROM THE AUTOMATIC
               STAY OF 11 U.S.C. SECTION 362 AND FOR SPECIAL RELIEF

          Corestates Group, LLC, hereinafter referred to as the “Owner,” by and through its

   undersigned counsel, Howard G. Ford, Esquire, hereby moves this Honorable Court for

   an Order permitting IN REM relief from the automatic stay pursuant to 11 U.S.C. Section

   362 with respect to the property located at 6608 North Smedley Street, Philadelphia, PA

   19126, and in support thereof, avers as follows:

          1.       On April 18, 2019 (the “Petition Date”), Ada Bundy (the “Debtor”) filed a

   voluntary Chapter 13 petition in the Eastern District of Pennsylvania.

          2.       Corestates Group, LLC, the Landlord, is the owner of a residential rental

   property located at 6608 North Smedley Street, Philadelphia, PA 19126 (the “Premises”).

          3.       Owner entered into an oral renewable one month lease for the Premises

   with the Debtor, effective March 19, 2019, whereby the Debtor occupied the Premises as

   tenant (the “Lease”).

          4.       Pursuant to the Lease, the Debtor is to pay rent of $800.00 per month to

   the Landlord.
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          5.      Subsequent to her occupancy of the Premises, the Debtor has failed to pay

   rent to the Landlord and is in arrears in the amount of $1600.00 through May 2019.

   Moreover, Debtor has failed to pay any post-petition rent due, but has continued to

   occupy the premises.

          6.      “Cause” exists to grant the Landlord relief from the automatic stay

   because the Landlord’s interest in the Premises is not adequately protected since the

   Debtor has failed to pay any rent since the Petition Date.

          7.      Accordingly, the Landlord is entitled to relief from the automatic stay for

   cause pursuant to Section 362(d) of the United State Bankruptcy Code, to exercise rights,

   remedies and privileges with respect to the Premises.

          8.      As a result, Landlord requests that the relief granted pursuant to this

   Motion be made in rem so that any subsequent bankruptcy filing by Debtor will not stay

   the Landlord from exercising his rights to retake possession of the Premises.

          WHEREFORE, Corestates Group, LL respectfully requests that this Court enter

   an Order: a) vacating the automatic stay of Section 362 of the United States Bankruptcy

   Code to permit it to exercise all of his rights, remedies and privileges with respect to the

   Premises; b) making the relief from the automatic stay in rem so that the relief given

   pursuant to this Motion apply in any subsequent bankruptcy proceeding filed
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   by the Debtor and c) granting such other and further relief as this Court deems necessary

   and just.




                                               Respectfully Submitted,

                                               Howard G. Ford, Esquire
                                               ___________________________
                                               Howard G. Ford, Esquire
                                               4256 Castor Avenue
                                               Philadelphia, PA 19124

   Dated: July 1, 2019
